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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



     FEDERAL TRADE COMMISSION,

                      Plaintiff,
                                                          Case No. 1:20-cv-03590-JEB
                 v.

     META PLATFORMS, INC.,

                      Defendant.


                                     JOINT STATUS REPORT

          The parties submit this Joint Status Report pursuant to the Court’s April 2, 2025 Minute

Order, and in response to the motion filed by the New York Times (“Times”) on March 23,

2025. See ECF No. 461-1 (“Times Mot.”). In light of the parties’ discussions, the FTC and

Meta jointly request that the Court enter the joint proposed order attached to this Joint Status

Report.

I.        Publication of Exhibits And Press Access Procedures

          Meta and the FTC support public access to the trial in this case. To that end, Meta, the

FTC, and the Times have agreed that the parties will post unsealed portions of exhibits used with

a witness on a website that will be accessible to the public. See Part I.1. This resolves the

request by the Times that the parties make “unsealed portions of trial exhibits available for

download from a public website.” Times Mot. at 9. Meta and the Times have a dispute about

which exhibits, and which portions of them, must be publicly posted on the website. See Part

I.2.a.




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                1.      Agreed Posting Proposal

        Meta, the FTC, and the Times agree that the parties should post unsealed portions of trial

exhibits used with and discussed by witnesses on a the shared website Box pursuant to the

following terms:

        •   Absent good cause, posting shall occur by 8:00 p.m. EDT two business days after an
            exhibit is used with and discussed by a witness at trial.

        •   The parties will bear responsibility for posting as follows:

            o For exhibits that were produced by Meta, Meta shall upload the exhibits to the
              site;

            o For exhibits that were produced by the FTC, the FTC shall upload the exhibits to
              the site; and

            o For exhibits that were produced by nonparties, the party who introduced the
              document during a witness’s examination shall upload the exhibits to the site.

        •   A party or nonparty with a confidentiality interest in the exhibit may object to posting
            by 8:00 p.m. EDT one calendar day after the exhibit is used at trial. The parties will
            not post the exhibit until the objection is resolved. If the parties are unable to resolve
            the dispute, the objecting party or nonparty should raise it with the Court.

FTC Additional Position Statement: Notwithstanding the agreement among the parties and the

Times, it is the FTC’s position that nothing in the Proposed Order shall prevent the FTC’s ability

to download and retain a copy of all exhibits uploaded to the website, regardless of who

ultimately uploads the exhibit. It is also the FTC’s position that the Proposed Order does not

prevent the FTC from posting any exhibits posted under the Proposed Order on its FTC.gov

website after the end of trial.

                2.      What Must Be Posted

        In discussions, the Times has argued that the parties must at some point during trial also

make available (a) all pages of all admitted trial exhibits, even if only portions of them were




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discussed at trial; and (b) any document “submitted as evidence” or “admitted” – even if the

document is never used. See Times Mot. at 11 (seeking order that “each party shall

make the exhibits admitted into evidence . . . available for download from a public

website”). Meta proposes that the Court instead order that only those portions of exhibits that

were discussed by a witness in open court during trial should be posted on the public website

(with redactions for sealable information). The FTC takes no position on this proposal. See

infra § I.2.a. Meta and the FTC also jointly propose language the Court should enter to obviate

needless disputes over whether documents never used are “judicial records.” See infra § I.2.b.

       a.      Meta’s Position Statement: Meta proposes that only unsealed portions of

exhibits that were actually used with (and discussed by) a witness during trial should be posted

on the public website. The D.C. Circuit has held that there is no First Amendment right to

contemporaneous access to unused portions of trial exhibits in a civil case. See In re Reporters

Comm. for Freedom of the Press, 773 F.2d 1325, 1327, 1341 (D.C. Cir. 1985) (Scalia, J.).

There, the D.C. Circuit rejected the argument that a trial court violated the First Amendment

when it “made available to the public” those “portions of each” exhibit used to question a

witness but refused the media’s request to unseal other unused portions of the exhibits during

trial. Id. at 1327, 1331-41.

       Judge Mehta – in rejecting an identical request by the Times to unseal unused portions of

trial exhibits in Google – correctly identified In re Reporters Committee as the “most pertinent[]”

D.C. Circuit authority on this question. See Trial Tr. at 6283:22-6284:12, United States v.

Google LLC, No. 1:20-cv-03010-APM (D.D.C. Oct. 18, 2023), ECF No. 974 (“[E]verybody

ought to take a look at In re: Reporters Committee . . . .”); Trial Tr. at 5952:8-10, United States




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v. Google LLC, No. 1:20-cv-03010-APM (D.D.C. Oct. 16, 2023), ECF No. 971 (“[T]o the extent

that there is a right of . . . public access, it’s to what is introduced during the trial.”).

        There also is no common-law right to access portions of trial exhibits never shown or

discussed during trial. The common-law right of access applies only to “judicial records,” In re

New York Times Co., 2021 WL 5769444, at *3 (D.D.C. Dec. 6, 2021) (Boasberg, J.), and

whether a document is a “judicial record” depends on “the role [the document] plays in the

adjudicatory process.” United States v. El-Sayegh, 131 F.3d 158, 163 (D.C. Cir. 1997).

“Something ‘intended to influence’ a court’s pending decision – such as a party’s brief – is most

likely a judicial record . . . while a document would not qualify if it is one that the court ‘made

no decisions’ about and did not ‘otherwise rel[y]” on. In re New York Times Co., 2021 WL

5769444, at *3.

        Portions of documents that never get used at trial fail this test because they will not form

the basis of any judicial decision. This Court has repeatedly explained that its “verdict is

certainly not going to hinge on” evidence “that wasn’t presented during trial.” Status Conf. Tr.

at 19:2-6 (Dec. 9, 2024), ECF No. 388; see also id. at 19:21-24 (“I am certainly not receptive to

any . . . backdoor situation where someone tries to put things in after the trial that they didn’t

want crossed on.”); Status Conf. Tr. 14:13-15 (Feb. 21, 2025), ECF No. 400 (“I plan on largely

or entirely basing my verdict on what happens at trial.”); Hr’g Tr. 7:23-8:4 (Mar. 31, 2025) (if

several hundreds of documents are admitted but “witnesses only . . . talk[] about a hundred of

them or a hundred and fifty, then I won’t look at the others” they “aren’t ever relied on” and

“will be ignored by me and you folks by the end of the trial”).

        In Google, Judge Mehta applied this same reasoning to reject the Times’s request for

posting of entire exhibits when only portions were discussed with witnesses at trial:



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        The court has said throughout that the evidentiary record in this case would be the
        testimony plus those parts of an exhibit actually presented to the court during trial. . . . It
        was those portions that were meant to influence the court’s decision-making; not the
        remaining portions of an exhibit.

Order at 5, United States v. Google LLC, No. 1:20-cv-03010-APM (D.D.C. Apr. 24, 2024), ECF

No. 892; see also Status Conf. Tr. at 16:17-19, United States v. Google LLC, No. 1:20-cv-03010-

APM (D.D.C. Mar. 11, 2024), ECF No. 846 (after trial, reiterating that “I’m not . . . convinced

with The Times’ position that just because a record is presented, that entirety of the record is

subject to public disclosure.”).

        Judge Mehta’s common-sense conclusion squarely applies here: if the FTC uses two

slides of a 200-slide deck at trial, the other 198 slides will not form the basis for this Court’s

ruling and thus are not judicial records subject to public disclosure. See Trial Tr. at 5952:12-16,

5957:18-20, United States v. Google LLC, No. 1:20-cv-03010-APM (D.D.C. Oct. 16, 2023),

ECF No. 971 (“[W]e’ve . . . seen lots of slide decks . . . in excess of 100 pages, in which a couple

of pages are shown. The remaining 98 or 99 . . . [are] not relevant . . . to issues at this trial. . . .

[I]t is what’s presented in court that is what’s a public record”); In re Citibank Aug. 11, 2020

Wire Transfers, 2020 WL 6782213 at *2 n.3 (S.D.N.Y. Nov. 18, 2020) (“[I]f information in a

document is not relevant to the issues in the case, and no party asks the Court to consider it, the

parties may – and should – redact the information without leave of Court to obviate any concerns

about public access.”).

        Accordingly, portions of documents not used with (and discussed by) a witness at trial do

not constitute judicial records, and there is no basis to require public posting of those portions.

Cf. Trial Tr. at 5957:20-5958:2, United States v. Google LLC, No. 1:20-cv-03010-APM (D.D.C.

Oct. 16, 2023), ECF No. 971 (explaining solution to same problem as being to clarify that

“what’s being admitted are the portions of the record that the parties are pointing me to”).


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        FTC’s Position Statement: While the FTC takes no position with this narrow dispute, it

maintains its position that a document does not need a sponsoring witness to be admitted as part

of the trial record and reserves its right to argue that certain documents should be included in the

record even when not used with and discussed with a witness at trial. To the extent such

documents are admitted without being used with a witness, the FTC proposes that the publication

of such documents be governed as described in subsection (b).

        Meta’s Additional Position Statement: Meta reserves its right to oppose any claim by

the FTC about what constitutes the trial record, including a claim that documents not discussed at

trial are part of the trial record.

        b.       The Times has also argued that any document “admitted” is a judicial record to

which a presumption of public access attaches, even if never used at all during trial. See Times

Mot. at 11 (seeking requirement for public posting of all “exhibits admitted into evidence”). The

FTC and Meta jointly propose that the Court enter the following order, to make clear when a

document becomes part of the trial record and obviate unsealing requests regarding materials that

are never used:

             •   Documents, including those on the parties’ preadmission lists, shall not become
                 part of the trial record before they are used with a witness during trial.

             •   The FTC reserves its rights to seek to make additional documents, such as those
                 on its preadmission list, part of the trial record through other means after trial, and
                 Meta reserves the right to oppose. To the extent that additional documents
                 become part of the trial record through other means after trial, the parties shall
                 submit a joint submission after trial setting forth the parties’ positions on whether
                 such documents may be publicly disclosed, and appropriate procedures (if any)
                 for such disclosure. This proposal shall be submitted ten business days after the
                 last day of evidence presented to the Court. The Box website’s contents shall
                 remain available to the public until fourteen days after the Court’s order on this
                 contemplated joint submission absent a Court order extending the time.




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II.     Courtroom Closure Notice and Redactions

        Meta, the FTC, and the Times have agreed, after a series of productive meet and confers,

that the Court should follow Judge Mehta’s practice and enter an order similar to the one entered

in Google regarding notice and opportunity to be heard on courtroom closures, see Min. Order,

United States v. Google LLC, No. 1:20-cv-03010-APM (D.D.C. Oct. 18, 2023). Specifically:

        (1) A party that believes a closed session will be required for either the direct or
        cross-examination of a witness shall [make best efforts to] so notify the Court by
        the end of the trial day immediately prior to the day of the witness’s expected
        testimony;

        (2) The court will docket the anticipated closed session the evening before the
        witness’s expected testimony; and

        (3) The Court will consider arguments and objections with respect to the proposed
        closed session, including from a media representative, at [the start of the morning
        session] on the day of the witness’s expected testimony. Any time taken to
        resolve any such arguments shall not count against either party’s chess clock

        Meta, the FTC, and the Times have also reached agreement on a procedure for proposing

redactions to closed-session transcripts. Specifically, the parties and the Times agree that: the

party or nonparty whose information necessitated a closed session shall propose redactions to

any transcript of a closed session within 72 hours, starting from the time the final version of the

transcript is circulated by the court reporter.

III.    Partial and Complete Nondisclosure

        Meta, the FTC, and the Times have also agreed to revised language (reflected in brackets

below) regarding the two-tiered confidentiality levels that Meta previously proposed and the

Court previously adopted. The Court therefore should enter the following provision as an

amendment to the order governing confidentiality at trial:

        The parties shall use two levels of at-trial confidential treatment: Complete
        Nondisclosure and Partial Nondisclosure. “Complete Nondisclosure” means that
        the entire document will remain sealed from the public record and the courtroom
        would be closed when the [substance of the] document is discussed. “Partial

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Nondisclosure” means that the witness, attorneys for the parties, and Court may
see an unredacted version of the document, but a redacted version will be shown
on public-facing screens, and the questioner and witness may not to reveal the
confidential portions of the document during questioning and testimony.




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Dated: April 3, 2025              Respectfully submitted,

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